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  Attorneys for Defendants
  ABNER GAURINO, AURORA GAURINO,
  and ABIGAIL GAURINO



                    IN THE UNITED STATES DISTRICT COURT

                         FOR THE DISTRICT OF HAWAI‘I

  ATOOI ALOHA, LLC, a Nevada            )   CIVIL NO. 16-00347 JMS RLP
  Limited Liability Company; CRAIG B.   )
  STANLEY, as Trustee for THE           )   CERTIFICATE OF SERVICE
  EDMON KELLER AND CLEAVETTE            )
  MAE STANLEY FAMILY TRUST;             )   [Re: Defendants Abner Gaurino,
  CRAIG B. STANLEY, individually;       )   Aurora Gaurino and Abigail
  MILLICENT ANDRADE, individually,      )   Gaurinos’ Notice of Taking
                                        )   Depositions Upon Oral
                      Plaintiffs,       )   Examination]
                                        )
              vs.                       )
                                        )
  ABNER GAURINO, AURORA                 )
  GAURINO, ABIGAIL GAURINO,             )
  INVESTORS FUNDING                     )
  CORPORATION, as Trustee for an        )    (Caption continued on next page)
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  unrecorded Loan Participation        )
  Agreement dated June 30, 2014, APT- )
  320,LLC, a Hawai‘i Limited Liability )
  Company, CRISTETA C. OWAN, an )
  individual; ROMMEL GUZMAN;           )
  FIDELITY NATIONIAL TITLE &           )
  ESCROV/ OF HAV/AII and DOES 1- )
  100 Inclusive,                       )
                   Defendants.         )
  ________________________________ )

                             CERTIFICATE OF SERVICE

               I HEREBY CERTIFY that a copy of the foregoing Gaurino

  Defendants’ Notice of Taking Depositions Upon Oral Examination to Plaintiffs,

  Millicent Andrade and Craig B. Stanley, for examination on August 30, 2017 and

  August 31, 2017, respectfully, was duly hand delivered or sent by first class mail,

  postage prepaid, to the following party(ies):

  TO:

  DENNIS V. CHONG KEE, ESQ.                       LAWRENE C. ECOFF, ESQ.
  W. KEONI SHULTZ, ESQ.                           ALBERTO J. CAMPAIN, ESQ.
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  Fidelity National Tile & Escrow of Hawai‘i and Rommel Guzman

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  Defendant Pro Se

        Dated: Honolulu, Hawai‘i, August 9, 2017.


                                      /S/ ROBERT D. EHELER, JR.
                                      JOHN R. REMIS, JR.
                                      ROBERT D. EHELER, JR.
                                      Attorneys for Gaurino Defendants




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